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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION at LEXINGTON



UNITED STATES OF AMERICA,                  )
                                           )
         Plaintiff,                        )
                                           )             Criminal Case No.
v.                                         )                12-cr-65-JMH
                                           )
HAROLD SMITH,                              )      MEMORANDUM OPINION AND ORDER
                                           )
         Defendant.                        )

                                           ***


         This matter is before the Court with respect to restitution

as to Defendant Harold Smith.                  The Court has had the benefit of

the      United    States’    Memorandum        on    Restitution       [DE   691]    and

Defendant Smith’s Memorandum Regarding Restitution [DE 722], as

well as the presentation of evidence by the United States and

argument by counsel for the United States and the attorney for

Defendant Harold Smith during the hearing conducted on April 13,

2015 [DE 732, 733].1          At the conclusion of the hearing, the Court

announced       its   decision    with     respect      to     restitution     due   from

Defendant Smith in this matter.                      The Court memorializes some

aspects of that decision in this Memorandum Opinion, as set

forth below.



1
  At the same hearing, Defendant Dwayne Hardy announced, by and through
counsel, that he would stipulate to the restitution amount submitted by the
Government, and the Court accepted that stipulation.
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     The      Mandatory       Victims      Restitution         Act   (MVRA)    requires

district courts to award restitution to identifiable victims of

fraud. 18 U.S.C. §§ 3663A(a)(1), 3663A(c)(1)(A)(ii). A “victim,”

for purposes of the MRVA, is defined as any “person directly and

proximately harmed as a result of the commission of an offense

for which restitution may be ordered including, in the case of

an offense that involves as an element a scheme, conspiracy, or

pattern of criminal activity, any person directly harmed by the

defendant’s conduct in the course of the scheme, conspiracy, or

pattern.”     Id.   at    §   3663A(a)(2).       For    purposes      of    restitution

liability,     “co-conspirators            are   held    jointly      and     severally

liable for all foreseeable losses within the scope of their

conspiracy regardless of whether a specific loss is attributable

to a particular conspirator.” United States v. Moeser, 758 F.3d

793, 797 (7th Cir. 2014) (citing United States v. Berkowitz, 732

F.3d 850, 853 (7th Cir. 2013); United States v. Dokich, 614 F.3d

314, 318 (7th Cir.2010); United States v. Martin, 195 F.3d 961,

968–69 (7th Cir.1999)). Accordingly, the United States need not

“prove   ‘a    direct    causal     relationship        between      the    defendant’s

personal conduct and a victim’s loss,’ because ‘the MVRA imposes

joint liability on all defendants for loss caused by others

participating in the scheme.’” Id. (citing Dokich, 614 F.3d at

318 (emphasis added)).            Still, in a multi-defendant case where

joint and several liability is applicable, the government is
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required to establish, by a preponderance of the evidence, a

causal connection between the victims loss and the fraudulent

scheme. See United States v. Martin, 195 F.3d 961, 969 (7th Cir.

1999).

        In   its     decision       on   the      issue    of      the     amount     of    loss

attributable to each defendant in this matter for the purposes

of properly calculating the sentencing guidelines [DE 558], this

Court reached a conclusion with respect to the amount of time,

demonstrated         by   a   preponderance           of   the     evidence,        that    each

defendant was part of the conspiracy charged in this matter.

For the purposes of restitution, the United States has asked

that the Court impose joint and several liability on each of the

defendants in the amount of actual loss suffered by individuals

who     were   victimized        by      the     scheme     during         the    defendants’

individual periods of involvement in the scheme.                                 In light of

the   case     law    and     the     Court’s        earlier     decisions,         the    Court

concludes that this is an appropriate attribution of loss for

purposes of restitution in light of the conspiracy conducted by

the defendants and others.                     Thus, Defendants Hardy and Smith

will be held jointly and severally liable for all foreseeable

losses within the scope of the conspiracy during the course of

their    involvement          regardless        of    whether      a     specific     loss    is

attributable to the particular defendant being held responsible
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for restitution – so long as the loss was caused by others

participating in the conspiracy.

       In    reaching        this    conclusion,       the       Court      rejects        Harold

Smith’s        argument       that     the     United          States’      has      presented

insufficient evidence and failed to carry its burden to support

the claim for restitution by a preponderance of the evidence.

He complains primarily of the lack of authenticated documents to

support any one victim’s claim of loss and the fact that Agent

Lowe has only been able to connect a handful of losses to the

actions of individual co-defendants in this matter.                                  He argued

that     the    generalized          relationship         of    the       losses     to      fraud

conducted       via    the    Internet       was    insufficient           to   connect       the

losses claimed to the conspiracy at bar.

       During        the      restitution          hearing,         the     United         States

introduced       a    spreadsheet       which      United       States      Secret        Service

Special Agent Allen Lowe testified to be a list that he compiled

from information that he had obtained from the course of the

investigation         of      this     matter       and        which      identified         each

individual victim of the conspiracy known to him and the amount

of loss suffered by each those victims.                         The United States also

introduced       individual         spreadsheets       for       Defendants          Hardy    and

Smith,      which     Agent    Lowe    testified       to      be    lists      of    the    same

information as contained in the larger spreadsheet but limited
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to those victims who suffered loss during the period of each

defendant’s involvement as previously determined by the Court.2

         The Court also heard testimony from Agent Lowe during the

restitution hearing, which piggybacked onto his testimony during

the hearing on the amount of loss and the sentencing hearings in

this      matter,      in   which   he     described    how      a    black      notebook    or

ledger was seized from the car in which Defendants Nicholas

Corey Garner and Eli Holley were arrested in September 2011.

That ledger was entered into evidence in this matter during the

loss hearing.           Lowe explained and the Court has observed itself

that       the     ledger     contains       what      appear        to     be     lists    of

transactions.               Using    that    information,            investigators         sent

subpoenas         to   Western      Union    and     Money    Gram        for    information

connected to the notations found in that ledger which, as it

turns      out,    corresponded       to    actual     transactions         conducted       via

Western      Union      and   MoneyGram      and     received        by   members    of     the

Garner group in the course of their conspiracy.                             Lowe has also

testified before this Court, during other proceedings, that he

contacted as many of the individuals who sent money in those

transactions as he could (over 250 individuals) and that each

told him that he or she had been defrauded of funds sent for the

purchase of a vehicle advertised at one of many online sites



2
  The United States did not introduce a spreadsheet for Nathaniel Garner
because no victims claimed losses during the period of his involvement.
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which    was    never     delivered         to   them.          Agent    Lowe    has   also

testified that some of the information that he gathered about

these victims and the amount of loss incurred as a result of

those transactions was obtained from records provided by the

victims themselves – victim impact statements, declarations of

victim loss, other types of statements, receipts, and the like.

Those victims and losses are reflected in those entries in the

spreadsheet designated “WU” or “MG”.

        Other   transactions        attributable          to     the    conspiracy     were

discovered      through    other     means       during    the     investigation,          and

Lowe has indicated them as “BVL,” meaning that the transaction

in question was a bank wire transfer from an individual victim

for   the   purchase      of    vehicle      into    an    account       established        by

someone within the conspiracy group, or “LMPD,” meaning that the

information      concerning       these      victims      was    provided       to   him    by

investigators from the Louisville Metro Police Department who

were investigating internet fraud activities in that geographic

area.     Again, Lowe indicated during his testimony and notations

on his spreadsheet that in some instances he also relied on

additional supporting documents to establish the identities of

these victims and their amounts of loss – declarations of victim

loss,     victim   impact        statements,        or     other        materials,     like
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receipts        –    suffered       as   a   result       of    the    activities       of   the

conspiracy.3

         At   the    restitution         hearing     and       in   his     brief,    Defendant

Smith objected to the sufficiency of the evidence presented by

the United States on two grounds, arguing that the United States

had failed to meet its burden of demonstrating that restitution

was     due    by    a   preponderance        of    the    evidence.           In    the   first

instance, he objected on the grounds that Agent Lowe’s testimony

failed        to    establish       evidence       connecting         the    losses    of    the

individuals identified by Agent Lowe – who the United States

urges are victims – to the acts undertaken by the conspiracy.

He objects, as well, to the presentation of evidence by Agent

Lowe as insufficient, without more support from the discovery

materials          provided    to    them,     to   support         the     position    of   the

United        States     on   restitution.          Notably,          he    argued    that   the

evidence presented was weak as the United States presented no

authenticated documents to support any one victim’s loss and

identified only a handful of losses which, if the Court believes

that      they      occurred,       could    be     tied       back    to    the     individual

defendants.          He objected as well to Agent Lowe’s testimony which

suggested that certain losses were connected to the conspiracy


3
 Agent Lowe testified that in those instances where money has been returned to
the victims to cover their loss from a source, he has entered a “zero” in the
chart to reflect the absence of restitution available to that victim.       He
also omitted any claims for mental anguish or pain and suffering communicated
by the victims.
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because of a generalized relationship to fraud conducted via the

internet.

       As a practical matter, the Court considers these objections

in light of three natural groupings of evidence identified by

the United States:         those transactions which were recorded in

the ledger discovered in the car at the time of Nicholas Corey

Garner and Eli Holley’s arrest (WU/MG); those related to victims

who sent money via the wires to bank accounts set up by the co-

conspirators    (BLV);     and     that    related     to    those    transactions

investigated or discovered through the investigation conducted

by the Louisville Metro Police Department (LMPD).

       With respect to the first objection, the Court has already

accepted that the transactions recorded in the ledger (WU/MG) or

received by bank wire (BLV) are evidence of intended or actual

loss    attributable      to     the    conspiracy     for     the    purposes      of

calculating the sentencing guidelines.               Now, the Court sees that

collection of ledger notations, from which investigators were

able to craft subpoenas and recover information from Western

Union and Moneygram as to the true identity of the payors listed

in that ledger and their amount of loss, as evidence of actual

loss   which   impacted        real,   identifiable     people,      directly     and

proximately harmed by the fraudulent activities conducted by the

conspirators.    The same is true for the evidence concerning the

bank wires and information gained related to those individuals
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who wired money into those accounts but never received the item

they sought to purchase.                 The Court considers this evidence

sufficient for its purposes in the restitution inquiry.                                        The

evidence       presented    makes     it     more      likely        than   not    that        the

victims’ losses as identified by Agent Lowe were caused by acts

undertaken in the course of the conspiracy by indicted (and now

convicted) and unindicted co-conspirators.

        As for those transactions investigated by the LMPD, Agent

Lowe    testified       that    his   contact          in     that    agency,      Detective

Maroni, advised him that he had learned through the course of

his    investigation       that    the      named      individuals          were    each       the

victim of an Internet scam which was conducted in the same way

as that conducted by the co-conspirators in the instant matter.

The    individuals      sent    money       in    amounts      similar       to    the       those

transactions recorded in the ledger, ranging from around $2,500

to around $3,500, for the purchase of a vehicle advertised on a

sales websites and never received a vehicle in return.                                   As the

Court    has    heard    before,      some       of    those     individuals        received

emails indicating that the vehicle “for sale” had belonged to

the “sellers’” son who had died following a car accident and

that the “seller” wished to get rid of the vehicle because of

the sad memories associated with it. The Court recalls evidence

from    the    loss     hearing    which         revealed      that     files      or    emails

containing       that    narrative       were         found    on     computers         in     the
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possession of and used by some of the co-conspirators in this

matter.    Further, as Agent Lowe explained, the funds from each

of these individuals were sent to the Louisville area in the

same   time    frame   as     the   co-conspirators           in   this   matter       were

operating in the area, receiving funds from other locations.

Finally,      Agent    Lowe     testified       that    at     least      two    of     the

transactions investigated by the LMPD were also listed in the

ledger and were verified by materials received in response to

subpoenas issued to WU and MG as part of his own investigation.

       Agent Lowe has also testified that Detective Maroni was, at

that time, the only investigator at LMPD assigned to track and

investigate internet-based crimes and that Detective Maroni had

informed him that the Garner group was the only group of which

he was aware which was conducting fraudulent activities of this

sort in the area.             The Court considers all of this evidence

sufficient for its purposes in the restitution inquiry.                                 The

evidence      presented     makes    it     more   likely      than    not      that    the

victims’ losses as identified by Agent Lowe were caused by acts

undertaken in the course of the conspiracy by indicted (and now

convicted) and unindicted co-conspirators.

       Finally, the Court reached the conclusion that Agent Lowe’s

testimony is sufficient to establish the victims’ identities and

losses by a preponderance of the evidence over Smith’s objection

regarding his authentication of those materials upon which Lowe
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relied in crafting his summary chart and his testimony.                                  He also

intimates that he objects to Agent Lowe’s testimony, itself,

because     it    is    hearsay.        The       Federal        Rules      of    Evidence      –

including those which limit the introduction of unauthenticated

documents    or       hearsay    evidence         –    do    not,     however,       apply      at

sentencing, and restitution is part of sentencing.                               Fed. R. Civ.

P.   1101(d)(3),        18    U.S.C.   §     3663A(a)(1)          (“when         sentencing     a

defendant . . . the court shall order . . . that the defendant

make restitution to the victim of the offense”).                                 Additionally,

the United States made it clear during the hearing that all of

the underlying physical evidence, summarized in Lowe’s charts,

was available to Defendant prior to the hearing for examination.

Even if the charts summarized aspects of the evidence obtained

by   Lowe   through      interviews         and       unavailable      in    the    materials

produced, he was available for cross-examination at the hearing.

Finally, the Court notes that, even if the Rules of Evidence

applied,    Rule       1006   would    permit         the    United    States       to    use   a

summary or chart to prove the content of voluminous records so

long   as    the       originals       or    duplicates           were      available        for

examination by defendants.              Defendant was free to undermine the

reliability       of    the     evidence      received           through     Agent        Lowe’s

testimony        by    cross-examination          or        by   presenting        additional

evidence, but the Court was not required at this stage in the

proceeding to conclude that it was unreliable merely because
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portions of Agent Lowe’s testimony were hearsay or because the

documents were not authenticated.

       Accordingly,        for     all    of     the   reasons       stated      during    the

hearing and in this Memorandum Opinion and Order, the Court

concludes      that    the       United       States    has       borne    the    burden    of

demonstrating         by     a      preponderance          of      the     evidence        that

restitution is owed to those individuals identified by Agent

Lowe     and   listed      in      the    spreadsheets.             From    the    evidence

presented, the Court concludes that each of those individuals is

a person directly and proximately harmed by a co-conspirator’s

conduct in the course of the scheme, conspiracy, or pattern

charged in this matter and that each of the defendants should be

held jointly and severally liable for all foreseeable losses

within     the    scope      of      their       involvement        in    the     conspiracy

regardless       of   whether         each      individual’s         specific      loss      is

attributable to the particular conspirator being held liable.

See 18 U.S.C. § 3663A(a)(2).

       Restitution will be ordered, jointly and severally, in the

amount of $1,727,250.06 for Defendant Harold Smith.
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     This the 22nd day of April, 2015.

     IT IS SO ORDERED.
